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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                              No. 21-cr-399 (RDM)
          Plaintiff,
 v.

 ROMAN STERLINGOV

          Defendant.




DEFENDANT’S OPPOSITION TO THE GOVERNMENT’S MOTION TO QUASH DEFENSE
         SUBPOENA TO FBI ANALYST CATHERINE ALDEN PELKER
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                                            Introduction
        The Government seeks to deny Mr. Sterlingov his right to confront the most

knowledgeable witness to the initiation, transfer, and course of this investigation, former FBI

Analyst and lead investigator in this case, Catherine Alden Pelker. In 2014, Ms. Pelker begins

work on this investigation. She does not become a lawyer until 2016. This makes her a material

fact witness and one of Mr. Sterlingov’s accusers. Despite this fact, and the District of Columbia

Rule of Professional Responsibility 3.7 and the American Bar Association’s Model Rule 3.7

which both prohibit lawyers from representing parties in cases where they are a material fact

witness, the DOJ chose to appoint her as a prosecutor on this case. She appears to be the sole

reason this case is in Washington D.C. Cross-examination of Ms. Pelker is crucial to Mr.

Sterlingov’s constitutional right to confront his accusers and put on a complete defense.

        Ms. Pelker’s testimony is directly relevant to several key issues in this case including

venue, forensics, confirmation bias, cognitive bias, the distorting effects of careerism and

profiteering on this investigation, and the primacy given to Chainalysis’s inaccurate proprietary

black-box heuristic blockchain tracing methodologies. The Government cannot now complain of

the situation it willingly and knowingly created by appointing the lead FBI Analyst and

investigator on this case as a prosecutor, years after the initiation of this investigation.

        As an FBI Analyst, Ms. Pelker is the primary point of contact with Chainalysis Inc., and
the primary analyst when it comes to the forensic output of the Government’s blockchain tracing

using Chainalysis Reactor software. She is also directly involved in DOJ’s hiring of Chainalysis

Inc. Chainalysis’s forensics are foundational to the Government’s case. She is in communication

with Chainalysis from the beginning, well before becoming a prosecutor. The Government so far

refuses to produce these communications and in general communications between the

Government and Chainalysis are missing from the discovery.

        The Government is mistaken in claiming that the Defense seeks privileged testimony.

Attorney privileges do not attach to the time Ms. Pelker was not an attorney, nor can the
Government hide behind the primarily civil discovery case law on the deliberative process
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privilege because this is a subpoena under the Sixth Amendment for testimony from a material

fact witness in a criminal case. Contrary to the Government’s assertions, the Defense does not

seek any testimony regarding her role as a prosecutor in this case. Because she is a material fact

witness, the Court should remove her as a prosecutor on this case so as not to confuse the jury as

to whether Ms. Pelker’s testimony is as a witness with personal knowledge or as an advocate for

the Government. This is the sound policy rationale behind the ABA and District of Columbia Bar

rules prohibiting the conduct at issue here.

                                             Background

             Undersigned counsel informed the Government of Ms. Pelker’s status as a material fact

    witness during its first meeting about this case with the Government. Despite this, the

    Government has not removed her as a prosecutor from this case.

             Additionally, on September 12, 2022, Defense counsel informed the Government via

    email that “Ms. Pelker is a material fact witness in this case and we are going to subpoena her

    testimony. We give you a final opportunity to have her withdraw from this case as a

    prosecutor before we raise the issue with the court.”

             On September 17, 2022, the Government responded by letter and declined to consider

    Ms. Pelker’s removal from this case.

             On October 24, 2022, the Defense filed a motion in limine asking for a hearing “as to

    [Ms. Pelker’s] role as a material fact witness and removal as a prosecutor in this case.” 1 That

    same day, the Government moved in limine to preclude the Defense from calling Ms. Pelker as

    a witness.2




1
    Dkt. 59 at 17.
2
    Dkt. 64.
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            On November 7, 2022, Defense counsel filed its opposition to the Government’s

    motion in limine to preclude the Defense from calling Ms. Pelker as a witness.3 On

    November 14, 2022, the Government filed its reply. 4

            On March 8, 2023, Defense counsel issued a subpoena for Ms. Pelker’s

    testimony. 5 On March 17, 2023, the Government responded via email to the subpoena

    indicating that they would be challenging the subpoena at the upcoming hearing on

    Motions in Limine.

            On March 23, 2023, the Chief of the Civil Division of the United States

    Attorney’s Office for the District of Columbia sent Defense counsel a Touhy letter

    requesting the substance of the requested testimony from Ms. Pelker.6

            On May 3, 2023, Defense counsel responded to Mr. Hudak’s letter pointing out

    that:

                  “Touhy, an administrative regulation cannot abrogate Mr.
                  Sterlingov’s Sixth Amendment right to confront his accusers. Nor
                  can it usurp his Sixth and Fifth Amendment rights not to disclose
                  his defense strategy until trial. Touhy involves a collateral appeal
                  through civil habeas corpus after exhaustion of direct appeal. This
                  procedural posture is on the opposite end of a case yet to go to trial
                  like Mr. Sterlingov’s.”

            And that:

                  “Ms. Pelker is a material fact witness. She is not being called by
                  the Defense in her capacity as a prosecutor. However, given the
                  fact that she is both a prosecutor and a material fact witness, the
                  Department should withdraw her from this case to avoid confusing
                  the jury as to whether she is a witness or an advocate. Ms. Pelker
                  has knowledge to which no one else can testify to. Under the Sixth
                  Amendment’s Confrontation Clause, Mr. Sterlingov has the right

3
  Dkt. 67. The Defense incorporates by reference its prior briefing on this issue.
4
  Dkt. 80.
5
  See Ex. A.
6
  See Ex. B.
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                    to confront Ms. Pelker, and under the Sixth and Fifth Amendments
                    the government cannot compel him to reveal his defense strategy
                    pre-trial under the guise of an administrative regulation instantiated
                    by the Department itself”7

              On May 18, 2023, the Government filed a motion to quash Defense counsel’s subpoena

    to Ms. Pelker. This opposition follows.

                                                Argument
             The Government concedes in its motion in limine that Ms. Pelker was heavily involved

    in the Bitcoin Fog investigation from its outset in 2014 while working as an Intelligence

    Analyst for the FBI office in Philadelphia.8 She is the reason this case is in the District of

    Columbia. Ms. Pelker takes this case with her to D.C., where she becomes a lawyer in 2016

    after graduating from Georgetown Law School. The Government has produced no

    documents or communications related to the decision to transfer this case despite the

    Defense requesting this information and despite it being directly relevant to the question of

    whether venue is constitutional in the District of Columbia. As the FBI analyst who initiated

    the Bitcoin Fog investigation, Ms. Pelker spent years participating in the investigation before

    becoming a prosecutor on this case.

             In 2014, Ms. Pelker authored and distributed internally at DOJ an “Intelligence Note”

    in which she outlines the Bitcoin Fog investigation and targets “Akemashite Omedetou” as

    the creator of Bitcoin Fog. She mentions “Akemashite Omedetou” no fewer than 43 times in

    the 10-page document. This Intelligence Note was circulated within the DOJ and directed all

    inquiries related to the Bitcoin Fog investigation to Ms. Pelker. Despite an ensuing nine-year

    investigation, there is little new evidence beyond what is in Ms. Pelker’s Bitcoin Fog

    Intelligence Note.

7
    See Ex. C.
8
    Dkt. 64 at 1.
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           The Government has produced no privilege log asserting any type of attorney-client,

    attorney-work product, or deliberative process privilege for any of the withheld discovery in

    this case. The Government has withheld its communications and information regarding Ms.

    Pelker’s use of Chainalysis Reactor (the Chainalysis forensic software used in this case)

    during the time she was an FBI analyst. The Government is also withholding information and

    communications related to the DOJ’s license acquisition of Chainalysis Reactor software, and

    its use by Ms. Pelker, the FBI and Treasury to investigate this case. The discovery reveals that

    Ms. Pelker was instrumental in getting the DOJ to purchase a license for Chainalysis Reactor,

    having first used a copy licensed to the Treasury Department. This goes directly to the issues

    of confirmation and cognitive bias that taint this investigation because it gives Ms. Pelker an

    incentive to make sure that Chainalysis Reactor is successful. Nor has the Government

    produced communications between Chainalysis, Ms. Pelker and IRS criminal investigator on

    this case Aaron Bice, among others working on the forensics in this case.

I.    FBI Analyst Catherine Alden Pelker is one of Mr. Sterlingov’s Accusers and a
Material Fact Witness

          Ms. Pelker is a material fact witness in this case and Mr. Sterlingov has a Sixth

Amendment right to cross-examine her. “As a general matter, the Sixth Amendment mandates

that a defendant receive ‘compulsory process for obtaining witnesses in his favor.’ Few rights are

more fundamental than that of an accused to present witnesses in his own defense.”9 The

threshold is merely the plausible showing of materiality for the Defense’s case.10




9
  United States v. Michel, CRIMINAL ACTION 19-148-1 (CKK) (D.D.C. Mar. 6, 2023) (quoting United States v.
Valenzuela-Bernal, 458 U.S. 858, 876 (1982) (“A governmental policy of deliberately putting potential defense
witnesses beyond the reach of compulsory process is not easily reconciled with the spirit of the Compulsory Process
Clause.”).
10
   See id.
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        The Defense seeks to cross-examine Ms. Pelker because she was the lead FBI Analyst

and investigator on this case for years prior to DOJ’s appointment of her as a prosecutor on it.

She has unique, materially relevant, personal knowledge of the novel proprietary black-box

heuristic blockchain software that constitutes the crux of the Government’s accusations against

Mr. Sterlingov. As the lead FBI investigator on this case she is responsible for its transfer to

Washington D.C. These facts alone, (1) her intimate involvement in, and use of, the forensics

accusing Mr. Sterlingov, (2) her role as the lead investigator for years before becoming a

prosecutor, and (3) her intimate involvement in the transfer of this case to Washington D.C.

(thereby implicating the constitutional issue of venue), are sufficient, relevant, material facts that

Mr. Sterlingov has the Sixth Amendment right to cross-examine Ms. Pelker about. To deny Mr.

Sterlingov’s right to confront and cross-examine his primary accuser not only violates the Sixth

Amendment, but also his Fifth Amendment right to put on a complete defense.11

        Mr. Sterlingov has a constitutional right under the Sixth Amendment to confront

Ms. Pelker. "Fair and full cross examination of a government witness on the subjects of

his examination in chief is an absolute right of an accused. And denial of the right

constitutes reversible error."12

        As the United States Supreme Court says in Crawford v. Washington:

                 The Confrontation Clause of the Sixth Amendment guarantees the
                 right of an accused in a criminal prosecution "to be confronted
                 with the witnesses against him." The right of confrontation, which
                 is secured for defendants in state as well as federal criminal
                 proceedings13, "means more than being allowed to confront the
                 witness physically."14 Indeed, " `[t]he main and essential purpose


11
   See United States v. Ramos, 763 F.3d 45 (1st Cir. 2014); United States v. Walshe, Criminal Action No. 10-cr-
00181-MSK (D. Colo. Nov. 3, 2011); U.S. v. Weisberg, 08-CR-347 (NGG) (RML) (E.D.N.Y. Apr. 5, 2011).
12
   Dickson v. United States, 182 F.2d 131 (10th Cir. 1950).
13
   See Pointer v. Texas, 380 U. S. 400 (1965).
14
   See Davis v. Alaska, 415 U. S. 308, 315 (1974).
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                 of confrontation is to secure for the opponent the opportunity of
                 cross-examination.'"15

II.   The Defense Seeks Testimony from Ms. Pelker Related to her Role as an FBI
Analyst

        The Defense does not seek to cross-examine Ms. Pelker on any topics related to her work

as a prosecutor in this case. The Defense merely seeks testimony from Ms. Pelker related to her

role as an FBI Analyst on this case. Thus, the Government’s contentions that any proposed cross-

examination would be subject to prosecutorial privilege, deliberative process privilege, or

attorney work-product doctrine is misplaced. Moreover, the Government is free to object on

privilege grounds should any such issue arise at trial.

III.    Ms. Pelker’s Work as an FBI Analyst Isn’t Privileged

        The Government has produced no privilege log of withheld discovery in this case. Nor

has it identified a single piece of privileged information. Its claims of attorney privilege are

unavailing for the simple fact that none of the sought after testimony involves Ms. Pelker’s role

as a belated prosecutor on this case. And the Government’s talismanic invocation of the

deliberative process privilege does it no better.

        A.       Deliberative Process Privilege does not Apply

        The deliberative process privilege protects the decision-making processes of government

agencies from discovery primarily in civil actions. The deliberative process privilege in its purest

form protects from discovery documents and internal communications that are part of an

agency's decision-making process.16 The Defense seeks testimony from Ms. Pelker with its

subpoena - not documentation.



15
   See Crawford v. Washington, 541 U.S. 36 (2004) (quoting Davis v. Alaska, 415 U. S. 308, 315-16 (1974) (quoting
5 J. Wigmore, Evidence § 1395, p. 123 (3d ed. 1940)) (emphasis in original).
16
   See Schomburg v. N.Y.C. Police Dep't, 298 F.R.D. 138, 144 (S.D.N.Y. 2014) (internal alterations omitted)
(quoting La Raza, 411 F.3d at 356 ).
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         The deliberative process privilege covers documents reflecting advisory opinions,

recommendations and deliberations comprising part of a process by which governmental

decisions and policies are formulated. 17 Its object is to enhance the quality of agency decisions

by protecting open and frank discussion among those who make them within the Government.18

The policy rationale behind the deliberative process privilege is essentially one of administrative

law and not criminal law.

         To invoke the deliberative process privilege, the Government must show that a document

in question is both predecisional and deliberative.19 Again, the Government’s motion to quash is

against the Defense’s subpoena ad testificandum, not a subpoena duces tecum.20 A document is

predecisional if it was created before a final decision was made, and deliberative if it reflects the

give-and-take of the decision-making process. In some cases, the Government may also need to

demonstrate that the disclosure of the document would discourage candid discussion within the

agency and undermine its ability to perform its functions. None of this is at play here when it

comes to Ms. Pelker’s testimony as a material fact witness in a federal criminal case.

         The deliberative process privilege does not provide a blanket basis upon which to

withhold documents that an agency has created during its decision-making process," because

such a rule "would provide an exemption from the discovery rules for decision-making agencies

generally," which, "of course, is not the law.21

         Defense counsel seeks to cross-examine Ms. Pelker about her investigation, not her

deliberation. It’s indisputable Ms. Pelker was the primary FBI Analyst on this case well before



17
   Dept. of Interior v. Klamath Water Users Protective Assn., 532 U.S. 1, 8-9 (2001) (internal citations and quotation
marks omitted).
18
   Howard v. City of Chicago, Case No. 03 C 8481 (N.D. Ill. Aug. 10, 2006).
19
   Doe v. Metro. Gov't of Nashville & Davidson Cnty., 3:20-cv-01023 (M.D. Tenn. Dec. 13, 2021).
20
   See Ex. A.
21
   See United States v. Wey, 252 F. Supp. 3d 237 (S.D.N.Y. 2017).
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she ever became an attorney or a prosecutor. What’s inexplicable here is that DOJ chose to make

her a prosecutor on this case knowing her role as an FBI Analyst in this investigation. By so

doing the Government waives any claims to privilege in the face of Mr. Sterlingov’s Sixth and

Fifth Amendment rights to confront his accusers and put on a complete defense.

        Here, there is no justification for application of the privilege because this is a subpoena

for testimony and the Government identifies no predecisional deliberative document implicated

by the Defense’s compulsory process.

        B.     The Attorney Work-Product Privilege is Inapposite

        The Defense is not seeking testimony on anything from the time period Ms. Pelker is an

attorney on this case, or even an attorney at all. The Defense seeks testimony from the time-

period Ms. Pelker worked as an FBI Analyst during which she initiated the investigation into

Bitcoin Fog and worked with Chainalysis and its Reactor software on the forensics at the heart of

this case.

        The Government does not identify a single document subject to the attorney work-

product doctrine. Again, the Defense seeks Ms. Pelker’s testimony as an FBI Analyst and

investigator on this case, not as an attorney.

        To the extent the Government identifies any work-product it is withholding in the

face of this subpoena and its Federal Rule of Criminal Procedure 16 obligations, the

Court should order the Government to produce a privilege log and, if necessary, engage

in in camera review of any disputed discovery.

IV.    Ms. Pelker Should be Removed as a Prosecutor from this Case in Accordance with
D.C. Bar Rule of Professional Conduct 3.7 and ABA Code of Professional Responsibility
Rule 3.7

        The ABA Code of Professional Responsibility Rule 3.7 and D.C. Bar Rule of

Professional Conduct 3.7 both prohibit lawyers from acting as an advocate and a witness in the
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same case, except in limited circumstances not applicable here. These rules are designed to avoid

conflicts that arise when an attorney puts their own credibility at issue in litigation and avoid

confusing the jury as to whether the lawyer is testifying as a witness or arguing as an advocate.22

Moreover, ABA Model Code of Professional Responsibility Disciplinary Rule 5-101(B)

prohibits lawyers from accepting employment in litigation if they know they could be called as a

witness.23 These rules are old and well-established. DOJ was on notice of these rules when it

chose to appoint Ms. Pelker as a prosecutor on the very case that she is a primary material fact

witness in. The Defense subpoena for Ms. Pelker’s testimony should not surprise the

Government.

                                                    Conclusion
           Ms. Pelker’s role as the primary FBI Analyst and investigator in this case for years before

becoming a prosecutor on this case requires denial of the Government’s motion to quash in its

entirety. Without Ms. Pelker’s testimony, not only is Mr. Sterlingov denied his constitutional

right to confront his accusers, but he is denied his constitutional right to mount a complete

defense. The Court should deny the Government’s motion in its entirety.




22
     See e.g. S.S. v. D.M, 597 A.2d 870, 877 (D.C. 1991).
23
     O'Neil v. Bergan, 452 A.2d 337 (D.C. 1982).
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Dated: June 1, 2023
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                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of June 2023, the forgoing document was filed with the

Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the Government

listed below:

                                                                           s/ Tor Ekeland

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